

People v Serra (2025 NY Slip Op 02089)





People v Serra


2025 NY Slip Op 02089


Decided on April 9, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 9, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ANGELA G. IANNACCI, J.P.
LARA J. GENOVESI
WILLIAM G. FORD
LILLIAN WAN, JJ.


2018-12530
 (Ind. No. 10115/16)

[*1]The People of the State of New York, respondent,
vVictorino Serra, appellant.


Victorino Serra, Fallsburg, NY, appellant pro se.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove, Morgan Dennehy, and Shlomit Heering of counsel), for respondent.
Patricia Pazner, New York, NY (Melissa S. Horlick of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated June 28, 2023 (People v Serra, 217 AD3d 971), affirming a judgment of the Supreme Court, Kings County, rendered September 12, 2018.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
IANNACCI, J.P., GENOVESI, FORD and WAN, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








